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SAO 154 (10/03) Substitution of Atlomey

UNITED STATES DISTRICT COURT

Eastern District of New York
Aranias CONSENT ORDER GRANTING
Plaintiff (s), SUBSTITUTION OF ATTORNEY
V.
SMG Automotive Holdings LLC et al CASE NUMBER: 1:2022cv04510
Defendant (s),
Notice is hereby given that, subject to approval by the court, _SMG Automotive Holdings LLC substitutes
(Party (s) Name)
Stevan H. LaBonte , State Bar No. 4310207 as counsel of record in

(Name of New Attomcy)

place of Scott H. Mandel
(Name of Attomey (s) Withdrawing Appearance)

Contact information for new counsel is as follows:

Firm Name: LaBonte Law Group, PLLC

Address: 333 Jericho Turnpike, Jericho, St. 200, NY 11753

Telephone: (516) 280-8580 Facsimile (631) 794-2434
E-Mail (Optional): slabonte@labontelawgroup.com i

I consent to the abeve substitution.

Date: q /Ypra~D ; VU

T

nature of Party (s))

I consent to being substituted.

Date: 6/24) 29 Sot Be

(Signature of Fonner Attorney (s))

I consent to the aboye substitution.

Date: Lf Loz

The substitution of attorney is hereby approved and so ORDERED.

Date:

Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]}

